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                  Case 3:17-cr-00228-CAB          Document 70            Filed 03/06/17            PageID.163         Page 1 of 2
      AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         United States District Court                                                        FILET
                                              SOUTHERN DISTRICT OF CALIFORNIA                                              17MAR-6 PMfg: io
                                                                          JUDGMENT IN A CRIMINAL                                wstr?cWLc®^RT
                     UNITED STATES OF AMERICA
                                V.                                        (For Offenses Committed On or After November 1, 1987)
                  LUIS ANGEL GARCIA-VELAZQUEZ (1)                                                                    BY,
                                                                             Case Number:         17CR0228-CAB                          --------- OFP'IT'


                                                                          DAVID J. ZUGMAN
                                                                          Defendant’s Attorney
      REGISTRATION NO.                 60093298

      □-
      THE DEFENDANT:
      [El pleaded guilty to count(s)      ONE (1) OF THE THREE-COUNT INFORMATION

      □ was found guilty on count(s)
          after a plea of not guilty.
      Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                              Count
      Title & Section                   Nature of Offense                                                                   Number(s)
      8 USC 1324(a)( 1)(A)(i)           BRINGING IN ALIENS AND AIDING AND ABETTING                                               1
      and (v)(II)




          The defendant is sentenced as provided in pages 2 through     __          2            of this judgment.
      The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
      □ The defendant has been found not guilty on count(s)
      □ Count(s)                                                    is          dismissed on the motion of the United States.

             Assessment: $100.00 - Waived
      El

      IE! No fine                □ Forfeiture pursuant to order filed                                       , included herein.
             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
      change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
      judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
      any material change in the defendant’s economic circumstances.

                                                                          March 6. 20,
                                                                          Date of Imposition of Sentence


                                                                          HON. CATHY ANN BENCIVENGO
                                                                          UNITED STATES DISTRICT JUDGE



                                                                                                                           17CR0228-CAB
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DEFENDANT:                LUIS ANGEL GARCIA-VELAZQUEZ (1)                                          Judgment - Page 2 of 2
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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED (61 DAYS).




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant shall surrender to the United States Marshal for this district:
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

 q     The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                       17CR0228-CAB
